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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

 MATTHEW KELSEY MARTINEAU,                                        CIVIL ACTION
         Plaintiff

 VERSUS                                                           NO. 24-2387

 BUNGIE, INC.,                                                    SECTION: “E” (5)
           Defendant


                                         ORDER

         Considering the foregoing Motion to Dismiss filed by Defendant Bungie, Inc.;1

         IT IS ORDERED that the motion is DENIED WITHOUT PREJUDICE.

         New Orleans, Louisiana, this 25th day of March, 2025.



                      ________________________________
                               SUSIE MORGAN
                        UNITED STATES DISTRICT JUDGE




1 R. Doc. 11.
